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               EXHIBIT 20
- Rotary Joints                                                                                                     Page 1 of 1
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   Rotary Joints                                                                 Fiber
                                                                                 Optic
   Rotary Joints
   Rotary joints with high-quality optical and mechanical properties.

   Fiber-optic rotary joints are required to transmit optical signals in rotating
   assemblies such as, for example, radar antennae or wind turbines. The rotary joints
   are available for both SM and MM fibers.

   Single-channel and dual-channel versions are both available. Multi-channel versions with up to 20 channels, as
   well as hybrid versions in combination with electric channels, can be delivered upon request.

   There is a version without an integrated fiber available for simple applications with large-core fibers (core
   diameter of 200 µm to 1000 µm). This version comes with an SMA connection on a standard basis.

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